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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



  CRYSTALLEX INTERNATIONAL CORP.,

   Plaintiff,

         V.                                             Misc. No. 17-151-LPS


  BOLIVARIAN REPUBLIC OF VENEZUELA,

   Defendant.




                        ORDER APPROVING FEES AND EXPENSES
                             SUBMITTED BY SPECIAL MASTER


         Upon consideration of the itemized statement of fees and expenses submitted by the

  Court-appointed Special Master by letter dated June 9, 2021 (the "Itemized Statement"), and

  pursuant to the Court's Order Regarding Special Master(D.I. 277),

         IT IS HEREBY ORDERED this ^         May of              ,2021,that:

          1.    The Court, having considered any objections or comments from the Parties and

  ConocoPhillips, fmds the fees and expenses in the Itemized Statement are regular and

  reasonable, and the Itemized Statement is approved.

          2.    Each of Crystallex, ConocoPhillips, and the Venezuela Parties shall make

  payment of one-third of the amount set forth in the Itemized Statement within 30 calendar days,

  pursuant to the terms set forth in the Order Regarding Special Master.




                                                           HONORABLE LEONARD P. STARK
                                                           UNITED STATES DISTRICT JUDGE
